Docket Entries Results                                                                                                                                          Page 1 of 3




                                                                                                                         Search for Cases by: Select Search Method...            
Judicial Links   |   eFiling     |   Help   |   Contact Us    |   Print                                                               GrantedPublicAccess      Logoff TKETCHUM10

                       1516-CV04545 - KATIE MOORE V KANSAS CITY PUBLIC SCHOOLS, ET AL (E-CASE)


                                                This information is provided as a service and is not considered an official court record.
Click here to eFile on Case Click here to Respond to Selected Documents Sort Date Entries:                                                  Display Options:
                                                                                                                          Descending
                                                                                                                                                               All Entries       
                                                                                                                          Ascending


04/17/2015
                         Notice of Service

                         Return of Service; Electronic Filing Certificate of Service.
                           Filed By: ASHLEY LYNN RICKET
                           On Behalf Of: KATIE MOORE, D. S.

                         Corporation Served

                         Document ID - 15-SMCC-3575; Served To - GREEN, DR. R. STEPHEN; Server - ; Served Date - 15-APR-15; Served Time -
                         11:55:00; Service Type - Special Process Server; Reason Description - Served; Service Text - Served to Amy Stouall - Legal

04/13/2015
                         Note to Clerk eFiling

                               Filed By: ASHLEY LYNN RICKET

                         Correspondence Filed

                         Letter to Clerk of Circuit Court; Electronic Filing Certificate of Service.
                            Filed By: ASHLEY LYNN RICKET
                            On Behalf Of: KATIE MOORE, D. S.

                         Correspondence Sent

                         Letter to Attorney Regarding Service

                         Order - Special Process Server


04/10/2015
                         Motion Special Process Server

                         Motion for Approval and Appointment of Private Process Server; Electronic Filing Certificate of Service.
                           Filed By: ASHLEY LYNN RICKET
                           On Behalf Of: KATIE MOORE, D. S.

04/09/2015
                         Summons Issued-Circuit

                         Document ID: 15-SMCC-3575, for GREEN, DR. R. STEPHEN.

                         Order - Special Process Server


04/07/2015
                         Note to Clerk eFiling

                               Filed By: ASHLEY LYNN RICKET

                         Motion Special Process Server

                         Motion for Approval and Appointment of Private Process Server; Electronic Filing Certificate of Service.
                           Filed By: ASHLEY LYNN RICKET
                           On Behalf Of: KATIE MOORE, D. S.

                         Request for Alias Summons

                         Request for Alias Summons for Defendant Green; Electronic Filing Certificate of Service.
                           Filed By: ASHLEY LYNN RICKET

04/06/2015
                         Summons Personally Served




                                                                          EXHIBIT
                     Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 1 of 91                                                                                          A
https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                                                          4/20/2015
Docket Entries Results                                                                                                            Page 2 of 3


               Document ID - 15-SMOS-330; Served To - RICHARDSON, EDWIN; Server - ; Served Date - 31-MAR-15; Served Time -
               10:25:00; Service Type - Sheriff Department; Reason Description - Served

               Notice of Service

               Certificate of Service of Process on Edwin Richardson; Electronic Filing Certificate of Service.
                 Filed By: ASHLEY LYNN RICKET
                 On Behalf Of: KATIE MOORE, D. S.

               Summons Returned Non-Est

               Document ID - 15-SMCC-2126; Served To - GREEN, DR. R. STEPHEN; Server - RIEAD, MICHEAL W.; Served Date - 02-
               APR-15; Served Time - 23:59:00; Service Type - Civil Process Server; Reason Description - Not In When Service Attempted

04/02/2015
               Summons Personally Served

               Document ID - 15-SMCC-2127; Served To - BILLUPS, CECIL ANNETTE; Server - HALL, BENNY J; Served Date - 30-MAR-
               15; Served Time - 10:34:00; Service Type - Civil Process Server; Reason Description - Served

               Family Member/Roommate Served

               Document ID - 15-SMCC-2130; Served To - COODY, ALICE; Server - HALL, BENNY J; Served Date - 30-MAR-15; Served
               Time - 11:35:00; Service Type - Civil Process Server; Reason Description - Served; Service Text - LEFT WITH ILSAN
               STAYTON /SON

               Summons Personally Served

               Document ID - 15-SMCC-2125; Served To - SOUTHWEST EARLY COLLEGE CAMPUS,; Server - HALL, BENNY J; Served
               Date - 30-MAR-15; Served Time - 10:35:00; Service Type - Civil Process Server; Reason Description - Served

03/23/2015
               Corporation Served

               Document ID - 15-SMCC-2124; Served To - KANSAS CITY PUBLIC SCHOOLS,; Server - RIEAD, MICHEAL W.; Served Date
               - 20-MAR-15; Served Time - 10:10:00; Service Type - Civil Process Server; Reason Description - Served; Service Text - LEFT
               WITH SHANA LONG/ SENIOR STAFF ATTORNEY OFFICER

               Summons Issued-Circuit

               Document ID: 15-SMOS-330, for RICHARDSON, EDWIN.

03/20/2015
               Note to Clerk eFiling

                  Filed By: ASHLEY LYNN RICKET

               Alias Summons Requested

               Letter to Clerk re out of county service by Otter Tail County Sheriff; Electronic Filing Certificate of Service.
                  Filed By: ASHLEY LYNN RICKET
                  On Behalf Of: KATIE MOORE, D. S.

               Correspondence Sent

               Return letter to atty.

03/19/2015
               Request Filed

               Request for Alias Summons - Edwin Richardson; Electronic Filing Certificate of Service.
                 Filed By: ASHLEY LYNN RICKET
                 On Behalf Of: KATIE MOORE, D. S.

               Summons Returned Non-Est

               Document ID - 15-SMOS-253; Served To - RICHARDSON, EDWIN; Server - ; Served Date - 13-MAR-15; Served Time -
               00:00:00; Service Type - Sheriff Department; Reason Description - Non-est; Service Text - Non Est - Unable to locate

               Note to Clerk eFiling

                  Filed By: ASHLEY LYNN RICKET

               Notice of Service

               Sheriff s Return - Non est - Edwin Richardson; Electronic Filing Certificate of Service.
                 Filed By: ASHLEY LYNN RICKET
                 On Behalf Of: KATIE MOORE, D. S.

03/05/2015
               Summons Issued-Circuit



             Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 2 of 91
https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                           4/20/2015
Docket Entries Results                                                                                            Page 3 of 3


                      Document ID: 15-SMOS-253, for RICHARDSON, EDWIN.

03/04/2015
                      Correspondence Sent

                      Letter to Attorney Regarding Service

03/03/2015
                      Note to Clerk eFiling

                            Filed By: ASHLEY LYNN RICKET

                      Alias Summons Requested

                      Request for Alias Summons; Electronic Filing Certificate of Service.
                        Filed By: ASHLEY LYNN RICKET
                        On Behalf Of: KATIE MOORE, D. S.

                      Summons Issued-Circuit

                      Document ID: 15-SMCC-2130, for COODY, ALICE.

                      Summons Issued-Circuit

                      Document ID: 15-SMCC-2127, for BILLUPS, CECIL ANNETTE.

                      Summons Issued-Circuit

                      Document ID: 15-SMCC-2126, for GREEN, DR. R. STEPHEN.

                      Summons Issued-Circuit

                      Document ID: 15-SMCC-2125, for SOUTHWEST EARLY COLLEGE CAMPUS,.

                      Summons Issued-Circuit

                      Document ID: 15-SMCC-2124, for KANSAS CITY PUBLIC SCHOOLS,.

                      Order Appt Next of Friend

                      Note to Clerk eFiling

                            Filed By: ASHLEY LYNN RICKET

                      Proposed Order Filed

                      Order Appointing Next Friend; Electronic Filing Certificate of Service.
                        Filed By: ASHLEY LYNN RICKET
                        On Behalf Of: KATIE MOORE, D. S.

03/02/2015
                      Correspondence Sent

                      Case Mgmt Conf Scheduled

                            Scheduled For: 07/13/2015; 9:00 AM ; KEVIN DUANE HARRELL; Jackson - Kansas City

02/27/2015
                      Consent to Appt Next Friend

                      Request for Jury Trial Filed

                      Judge Assigned

                      Filing Info Sheet eFiling

                            Filed By: ASHLEY LYNN RICKET

                      Motion to Appoint Next Friend

                      Application for Appointment of Next Friend; Exhibit A - Consent to Serve as Next Friend.
                        Filed By: ASHLEY LYNN RICKET
                        On Behalf Of: KATIE MOORE

                      Pet Filed in Circuit Ct

                      Petition for Damages.
Case.net Version 5.13.7.0                                         Return to Top of Page                          Released 01/07/2015




                  Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 3 of 91
https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                            4/20/2015
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM
  1516-CV04545




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 4 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 5 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 6 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 7 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 8 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 9 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 10 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 11 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 12 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 13 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 14 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 15 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 16 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 17 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 18 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 19 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 20 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 21 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 22 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 23 of 91
                                                                    Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM
                                                     1516-CV04545




Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 24 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 25 of 91
Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM




                                                                              Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 26 of 91
                        IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                             AT KANSAS CITY           AT INDEPENDENCE



RE:  KATIE MOORE V KANSAS CITY PUBLIC SCHOOLS, ET AL
CASE NO:  1516-CV04545


TO:     ASHLEY LYNN RICKET
        DOLLAR, BURNS & BECKER
        1100 MAIN ST, SUITE 2600
        KANSAS CITY, MO 64105

We have received pleadings, which you submitted for filing in the case and they have been file-stamped on FEBRUARY
27, 2015. However, your pleading cannot be processed further until the following action is taken:

RULE 3.2 - STYLE                                                      RULE 68.7 – VITAL STATISTICS REPORT
  Additional service instructions are needed.                           Need Certificate of dissolution of marriage form.
  Incorrect case number/filed in wrong county.
  Document is unreadable.                                             RULE 74.14 SUPREME CT – FOREIGN JUDGMENT
                                                                        Authentication of foreign judgment required.
RULE 4.2 (2)                                                            Affidavit pursuant to Supreme Court Rule 74.14
  Need Circuit Court Form 4
                                                                      RULE 54.12 SERVICE IN REM OR QUASI IN REM
RULE 5.6 – COLLECTIONS OF DEPOSIT                                     ACTIONS
  No fee, or incorrect fee, received; fee required is $______.          Affidavit for Service by Publication required pursuant to
  Insufficient Filing Fee; Please Remit $______                          Supreme Court Rule 54.12c.
  No signature on check/form 1695.                                      Order for Service by Publication required pursuant to
  No request to proceed in forma pauperis.                               Supreme Court Rule 54.12c.
  No personal checks accepted.                                          Notice for Service by Publication required pursuant to
                                                                         Supreme Court Rule 54.12c.
RULE 68.1                                                               Affidavit for Service by Certified/Registered Mail
  Need Circuit Court Form 17                                             pursuant to Supreme Court Rule 54.12b.

    OTHER: To further process your case please submit “specific service instructions” on how you want each
defendant served. Also please submit a Proposed Order for Appointment of Next Friend for the courts approval.
    Please take the actions necessary to comply with the Circuit Court Rules and your request will be processed.
    The private process server listed is not on our approved list.
    Execution in effect. Return date _________. Request may be resubmitted within one week prior to return date.
    Supreme Court Rule 90.13 requires interrogatories be served with summons of garnishment.

If the filing was a new case, please be advised that unless the additional information marked is received within 30
days of the date of this notice this case will be dismissed pursuant to Rule 37.4 for failure to prosecute without
prejudice, at the Plaintiff’s cost. Collection efforts will be pursued for these costs.
Please refer to the Court’s website at www.16thcircuit.org for Court Rules or Forms.
Copies electronic noticed, faxed, emailed and/or mailed MARCH 2, 2015 to:
                                                                        COURT ADMINISTRATOR’S OFFICE
                                                                       DEPARTMENT OF CIVIL RECORDS
                                                                  CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

               MARCH 2, 2015                                     By
                  Date                                                        Patricia McIntosh 816-881-3906
                                                                                Deputy Court Administrator
                                                                         415 East 12th St., Kansas City, Missouri 64106
                                                                         308 W. Kansas, Independence, Missouri 64050



                  Case
Case no. 1516-CV04545     4:15-cv-00293-DW Document
                                               Page 1 of1-1
                                                         1  Filed 04/20/15 Page 27 of 91                         DMSLCI5 (8/2014)
                                                                    Electronically Filed - Jackson - Kansas City - February 27, 2015 - 12:48 PM
                                                     1516-CV04545




Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 28 of 91
             IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                              AT KANSAS CITY

KATIE MOORE

                        PLAINTIFF(S),                            CASE NO. 1516-CV04545
VS.                                                              DIVISION 18

KANSAS CITY PUBLIC SCHOOLS ET AL

                        DEFENDANT(S),

       NOTICE OF CASE MANAGEMENT CONFERENCE FOR CIVIL CASE
                        AND ORDER FOR MEDIATION
______________________________________________________________________________

          NOTICE IS HEREBY GIVEN that a Case Management Conference will be held with the
Honorable KEVIN DUANE HARRELL on 13-JUL-2015 in DIVISION 18 at 09:00 AM. All
Applications for Continuance of a Case Management Conference should be filed on or before
Wednesday of the week prior to the case management setting. Applications for Continuance of a
Case Management Conference shall comply with Supreme Court Rule and 16th Cir. R. 34.1.
Continuance of a Case Management Conference will only be granted for good cause shown because
it is the desire of the Court to meet with counsel and parties in all cases within the first 4 months that
a case has been on file. All counsel and parties are directed to check Case.NET on the 16th Judicial
Circuit web site at www.16thcircuit.org after filing an application for continuance to determine
whether or not it has been granted.

        A lead attorney of record must be designated for each party as required by Local Rule 3.5.1.
 A separate pleading designating the lead attorney of record shall be filed by each party as described
in Local Rule 3.5.2. The parties are advised that if they do not file a separate pleading designating
lead counsel, even in situations where there is only one attorney representing the party, JIS will not
be updated by civil records department, and copies of orders will be sent to the address currently
shown in JIS. Civil Records does not update attorney information from answers or other pleadings.
The Designation of Lead Attorney pleading shall contain the name of lead counsel, firm name,
mailing address, phone number, FAX number and E-mail address of the attorney who is lead
counsel.
       At the Case Management Conference, counsel should be prepared to address at least the
following:

        a.      A trial setting;
        b.      Expert Witness Disclosure Cutoff Date;
        c.      A schedule for the orderly preparation of the case for trial;
        d.      Any issues which require input or action by the Court;
        e.      The status of settlement negotiations.


1516-CV04545                                  Page 1 of 2                                  DMSNCMCIV
                                                                                             Rev 5/2012
         Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 29 of 91
                                           MEDIATION
        The parties are ordered to participate in mediation pursuant to Supreme Court Rule 17.
Mediation shall be completed within 10 months after the date the case if filed for complex cases,
and 6 months after the date the case is filed for other circuit cases, unless otherwise ordered by
the Court. Each party shall personally appear at the mediation and participate in the process. In
the event a party does not have the authority to enter into a settlement, then a representative of
the entity that does have actual authority to enter into a settlement on behalf of the party shall
also personally attend the mediations with the party.

        The parties shall confer and select a mutually agreeable person to act as mediator in this
case. If the parties are unable to agree on a mediator the court will appoint a mediator at the
Case Management Conference.

       Each party shall pay their respective pro-rata cost of the mediation directly to the
mediator.

                                  POLICIES/PROCEDURES
       Please refer to the Court’s web page www.16thcircuit.org for division policies and
procedural information listed by each judge.

                                              /S/ KEVIN DUANE HARRELL
                                              KEVIN DUANE HARRELL, Circuit Judge

                                          Certificate of Service
         This is to certify that a copy of the foregoing was mailed postage pre-paid or hand
delivered to the plaintiff with the delivery of the file-stamped copy of the petition. It is further
certified that a copy of the foregoing will be served with the summons on each defendant named
in this action.

Attorney for Plaintiff(s):
ASHLEY LYNN RICKET, DOLLAR, BURNS & BECKER, 1100 MAIN ST, SUITE 2600,
KANSAS CITY, MO 64105

TIM EUGENE DOLLAR, DOLLAR BURNS & BECKER L C, 1100 MAIN STREET, SUITE
2600, KANSAS CITY, MO 64105

Defendant(s):
KANSAS CITY PUBLIC SCHOOLS,
SOUTHWEST EARLY COLLEGE CAMPUS,
DR. R. STEPHEN GREEN
EDWIN RICHARDSON
CECIL ANNETTE BILLUPS
ALICE COODY

Dated: 09-APR-2015                                            Jeffrey A. Eisenbeis
                                                              Court Administrator

1516-CV04545                    Page 2 of 2                      DMSNCMCIV
                                                                    Rev 5/2012
      Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 30 of 91
Electronically Filed - Jackson - Kansas City - March 03, 2015 - 04:44 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 31 of 91
             IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 1516-CV04545
 KEVIN DUANE HARRELL
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 KATIE MOORE                                                        ASHLEY LYNN RICKET
                                                                    DOLLAR, BURNS & BECKER
                                                                    1100 MAIN ST
                                                                    SUITE 2600
                                                              vs.   KANSAS CITY, MO 64105
 Defendant/Respondent:                                              Court Address:
 KANSAS CITY PUBLIC SCHOOLS,                                        415 E 12th
 Nature of Suit:                                                    KANSAS CITY, MO 64106
 CC Pers Injury-Other                                                                                                                 (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: ALICE COODY
                                      individually and as a Special Education Teacher at
                                       Southwest Early College Campus
  SERVE:
  822 E. 93RD TERRACE, APT. 322
  KANSAS CITY, MO 64131

        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    03-MAR-2015                                _________________________________________
                                                        Date                                                    Clerk
       JACKSON COUNTY                  Further Information:

                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.



OSCA (7-08) SM30 (JAKSMCC) For Court Use Only: Document Id # 15-SMCC-2130
                                                           1 of 1               Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                       Case 4:15-cv-00293-DW Document 1-1 Filed   04/20/15    Page       32 of 91
                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org ĺ Electronic Filing Information ĺ Required Documents for Service – eFiled cases ĺ
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                       Circuit Court of Jackson County




            Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 33 of 91
͹Ȁ͵Ȁͳ͵             Ǧ
             IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 1516-CV04545
 KEVIN DUANE HARRELL
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 KATIE MOORE                                                        ASHLEY LYNN RICKET
                                                                    DOLLAR, BURNS & BECKER
                                                                    1100 MAIN ST
                                                                    SUITE 2600
                                                              vs.   KANSAS CITY, MO 64105
 Defendant/Respondent:                                              Court Address:
 KANSAS CITY PUBLIC SCHOOLS,                                        415 E 12th
 Nature of Suit:                                                    KANSAS CITY, MO 64106
 CC Pers Injury-Other                                                                                                                 (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: CECIL ANNETTE BILLUPS
                                      Individually and as a Special Education Teacher at Southwest Early College Campus
  SERVE:
  8602 ELM AVENUE
  RAYTOWN, MO 64138

        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    03-MAR-2015                                _________________________________________
                                                        Date                                                    Clerk
       JACKSON COUNTY                  Further Information:

                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (JAKSMCC) For Court Use Only: Document Id # 15-SMCC-2127
                                                           1 of 1               Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                       Case 4:15-cv-00293-DW Document 1-1 Filed   04/20/15    Page       34 of 91
                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org ĺ Electronic Filing Information ĺ Required Documents for Service – eFiled cases ĺ
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                       Circuit Court of Jackson County




            Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 35 of 91
͹Ȁ͵Ȁͳ͵             Ǧ
             IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 1516-CV04545
 KEVIN DUANE HARRELL
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 KATIE MOORE                                                        ASHLEY LYNN RICKET
                                                                    DOLLAR, BURNS & BECKER
                                                                    1100 MAIN ST
                                                                    SUITE 2600
                                                              vs.   KANSAS CITY, MO 64105
 Defendant/Respondent:                                              Court Address:
 KANSAS CITY PUBLIC SCHOOLS,                                        415 E 12th
 Nature of Suit:                                                    KANSAS CITY, MO 64106
 CC Pers Injury-Other                                                                                                                 (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: DR. R. STEPHEN GREEN
                                      Alias:
  SERVE: AMY STOVALL,
  LEGAL SERVICES DEPT.
  1211 MCGEE
  KANSAS CITY, MO 64106
        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    03-MAR-2015                                _________________________________________
                                                        Date                                                    Clerk
       JACKSON COUNTY                  Further Information:

                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (JAKSMCC) For Court Use Only: Document Id # 15-SMCC-2126
                                                           1 of 1               Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                       Case 4:15-cv-00293-DW Document 1-1 Filed   04/20/15    Page       36 of 91
                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org ĺ Electronic Filing Information ĺ Required Documents for Service – eFiled cases ĺ
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                       Circuit Court of Jackson County




            Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 37 of 91
͹Ȁ͵Ȁͳ͵             Ǧ
             IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 1516-CV04545
 KEVIN DUANE HARRELL
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 KATIE MOORE                                                        ASHLEY LYNN RICKET
                                                                    DOLLAR, BURNS & BECKER
                                                                    1100 MAIN ST
                                                                    SUITE 2600
                                                              vs.   KANSAS CITY, MO 64105
 Defendant/Respondent:                                              Court Address:
 KANSAS CITY PUBLIC SCHOOLS,                                        415 E 12th
 Nature of Suit:                                                    KANSAS CITY, MO 64106
 CC Pers Injury-Other                                                                                                                 (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: SOUTHWEST EARLY COLLEGE CAMPUS,
                                      A/K/A SOUTHWEST HIGH SCHOOL
  SERVE: ARCHIE BROWN, PRINCIPAL
  6512 WORNALL ROAD
  KANSAS CITY, MO 64113

        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    03-MAR-2015                                _________________________________________
                                                        Date                                                    Clerk
       JACKSON COUNTY                  Further Information:

                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (JAKSMCC) For Court Use Only: Document Id # 15-SMCC-2125
                                                           1 of 1               Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                       Case 4:15-cv-00293-DW Document 1-1 Filed   04/20/15    Page       38 of 91
                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org ĺ Electronic Filing Information ĺ Required Documents for Service – eFiled cases ĺ
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                       Circuit Court of Jackson County




            Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 39 of 91
͹Ȁ͵Ȁͳ͵             Ǧ
             IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                                 Case Number: 1516-CV04545
 KEVIN DUANE HARRELL
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 KATIE MOORE                                                        ASHLEY LYNN RICKET
                                                                    DOLLAR, BURNS & BECKER
                                                                    1100 MAIN ST
                                                                    SUITE 2600
                                                              vs.   KANSAS CITY, MO 64105
 Defendant/Respondent:                                              Court Address:
 KANSAS CITY PUBLIC SCHOOLS,                                        415 E 12th
 Nature of Suit:                                                    KANSAS CITY, MO 64106
 CC Pers Injury-Other                                                                                                                 (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: KANSAS CITY PUBLIC SCHOOLS,
                                      A/K/A THE KANSAS CITY PUBLIC SCHOOL DISTRICT
  SERVE: AMY STOVALL
  LEGAL SERVICES DEPARTMENT
  1211 MCGEE
  KANSAS CITY, MO 64106
        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    03-MAR-2015                                _________________________________________
                                                        Date                                                    Clerk
       JACKSON COUNTY                  Further Information:

                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (JAKSMCC) For Court Use Only: Document Id # 15-SMCC-2124
                                                           1 of 1               Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                       Case 4:15-cv-00293-DW Document 1-1 Filed   04/20/15    Page       40 of 91
                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org ĺ Electronic Filing Information ĺ Required Documents for Service – eFiled cases ĺ
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                       Circuit Court of Jackson County




            Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 41 of 91
͹Ȁ͵Ȁͳ͵             Ǧ
Electronically Filed - Jackson - Kansas City - March 03, 2015 - 08:54 AM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 42 of 91
Electronically Filed - Jackson - Kansas City - March 03, 2015 - 08:54 AM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 43 of 91
Electronically Filed - Jackson - Kansas City - March 03, 2015 - 08:54 AM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 44 of 91
                                                                  Electronically Filed - Jackson - Kansas City - March 03, 2015 - 08:54 AM
   3%           ."3$)




                      %&165:$-&3,"%.*/*453"503




Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 45 of 91
                        IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                             AT KANSAS CITY           AT INDEPENDENCE



RE:  KATIE MOORE V KANSAS CITY PUBLIC SCHOOLS, ET AL
CASE NO:  1516-CV04545

TO:     ASHLEY LYNN RICKET
        DOLLAR, BURNS & BECKER
        1100 MAIN ST, SUITE 2600
        KANSAS CITY, MO 64105

We have received pleadings, which you submitted for filing in the case and they have been file-stamped on March 3, 2015.
However, your pleading cannot be processed further until the following action is taken:

RULE 3.2 - STYLE                                                      RULE 68.7 – VITAL STATISTICS REPORT
  Additional service instructions are needed.                           Need Certificate of dissolution of marriage form.
  Incorrect case number/filed in wrong county.
  Document is unreadable.                                             RULE 74.14 SUPREME CT – FOREIGN JUDGMENT
                                                                        Authentication of foreign judgment required.
RULE 4.2 (2)                                                            Affidavit pursuant to Supreme Court Rule 74.14
  Need Circuit Court Form 4
                                                                      RULE 54.12 SERVICE IN REM OR QUASI IN REM
RULE 5.6 – COLLECTIONS OF DEPOSIT                                     ACTIONS
  No fee, or incorrect fee, received; fee required is $______.          Affidavit for Service by Publication required pursuant to
  Insufficient Filing Fee; Please Remit $______                          Supreme Court Rule 54.12c.
  No signature on check/form 1695.                                      Order for Service by Publication required pursuant to
  No request to proceed in forma pauperis.                               Supreme Court Rule 54.12c.
  No personal checks accepted.                                          Notice for Service by Publication required pursuant to
                                                                         Supreme Court Rule 54.12c.
RULE 68.1                                                               Affidavit for Service by Certified/Registered Mail
  Need Circuit Court Form 17                                             pursuant to Supreme Court Rule 54.12b.

    OTHER: Please note that a summons for the defendant listed on your Request for Alias Summons, file
stamped on March 3, 2015 at 4:44pm, was already issued on March 3, 2015 at 9:49am. A new summons cannot be
generated until we received a Non Est service return on the current summons, or until the current summons
expires (30 days from the issue date).
    Please take the actions necessary to comply with the Circuit Court Rules and your request will be processed.
    The private process server listed is not on our approved list.
    Execution in effect. Return date _________. Request may be resubmitted within one week prior to return date.
    Supreme Court Rule 90.13 requires interrogatories be served with summons of garnishment.

If the filing was a new case, please be advised that unless the additional information marked is received within 30
days of the date of this notice this case will be dismissed pursuant to Rule 37.4 for failure to prosecute without
prejudice, at the Plaintiff’s cost. Collection efforts will be pursued for these costs.
Please refer to the Court’s website at www.16thcircuit.org for Court Rules or Forms.
Copies electronic noticed, faxed, emailed and/or mailed MARCH 4, 2015 to:
                                                                       COURT ADMINISTRATOR’S OFFICE
                                                                       DEPARTMENT OF CIVIL RECORDS
                                                                 CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

               MARCH 4, 2015                                     By
                  Date                                                        Peggy Holley, 816-881-6491
                                                                              Deputy Court Administrator
                                                                         415 East 12th St., Kansas City, Missouri 64106
                                                                        308 W. Kansas, Independence, Missouri 64050


                  Case
Case no. 1516-CV04545     4:15-cv-00293-DW Document
                                               Page 1 of1-1
                                                         1  Filed 04/20/15 Page 46 of 91                         DMSLCI5 (8/2014)
               IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                              Case Number: 1516-CV04545
 KEVIN DUANE HARRELL
 Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address:
 KATIE MOORE                                                     ASHLEY LYNN RICKET
                                                                 DOLLAR, BURNS & BECKER
                                                                 1100 MAIN ST
                                                                 SUITE 2600
                                                           vs.   KANSAS CITY, MO 64105
 Defendant/Respondent:                                           Court Address:
 KANSAS CITY PUBLIC SCHOOLS,                                     415 E 12th
 Nature of Suit:                                                 KANSAS CITY, MO 64106
 CC Pers Injury-Other                                                                                                             (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                           (Except Attachment Action)
    The State of Missouri to: EDWIN RICHARDSON
                              individually and as a Prinicipal of Southeast Early College Campus
  SERVE:
  33630 County Highway 1
  UNDERWOOD, MN 56586
                                    You are summoned to appear before this court and to file your pleading to the petition, copy of which is attached,
     COURT SEAL OF
                                 and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above address all within 30
                                 days after service of this summons upon you, exclusive of the day of service. If you fail to file your pleading,
                                 judgment by default will be taken against you for the relief demanded in this action.
                                                        05-MAR-2015                       ____________________________________________________
                                                            Date                                                  Clerk
    JACKSON COUNTY               Further Information:

                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                  delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                  leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                   _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                   _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                  Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                  I am: (check one)    the clerk of the court of which affiant is an officer.
                                                       the judge of the court of which affiant is an officer.
          (Seal)                                       authorized to administer oaths in the state in which the affiant served the above summons.
                                                        (use for out-of-state officer)
                                                       authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.




OSCA (7-04) SM60 (JAKSMOS) For Court Use Only: Document ID# 15-SMOS-253
                                                      1 of 2    (1516-CV04545)
                      Case 4:15-cv-00293-DW Document 1-1     Filed  04/20/15 Page 47 ofRules
                                                                                         9154.06, 54.07, 54.14, 54.20;
                                                                                             506.500, 506.510 RSMo
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

         Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 (JAKSMOS) For Court Use Only: Document ID# 15-SMOS-253
                                                     2 of 2    (1516-CV04545)
                     Case 4:15-cv-00293-DW Document 1-1     Filed  04/20/15 Page 48 ofRules
                                                                                        9154.06, 54.07, 54.14, 54.20;
                                                                                            506.500, 506.510 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org ĺ Electronic Filing Information ĺ Required Documents for Service – eFiled cases ĺ
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                       Circuit Court of Jackson County




            Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 49 of 91
͹Ȁ͵Ȁͳ͵             Ǧ
Electronically Filed - Jackson - Kansas City - March 19, 2015 - 10:32 AM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 50 of 91
Electronically Filed - Jackson - Kansas City - March 19, 2015 - 09:24 AM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 51 of 91
Electronically Filed - Jackson - Kansas City - March 19, 2015 - 09:24 AM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 52 of 91
Electronically Filed - Jackson - Kansas City - March 19, 2015 - 09:24 AM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 53 of 91
Electronically Filed - Jackson - Kansas City - March 19, 2015 - 09:24 AM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 54 of 91
Electronically Filed - Jackson - Kansas City - March 20, 2015 - 02:54 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 55 of 91
                         IN THE
                              E CIRCUIT
                                      T COURT OF
                                              O JACKSO
                                                     ON COUNT
                                                            TY, MISSOU
                                                                     URI
                                                AT
                                                 T KANSAS CIT
                                                            TY            AT IN
                                                                              NDEPENDENC
                                                                                       CE

RE:  KATIE MOORE
           M      V KANSAS
                    K      CIT
                             TY PUBLIC SCHOOLS,, ET AL
  SE NO:
CAS       15
           516-CV04545
TO:      ASHLEY LYNN RICK   KET
         DOLLARR, BURNS & BECKER
                            B
         1100 MAIIN ST, SUITE 2600
         KANSAS CITY, MO 64105
                            6

We hhave received
                d pleadings, which
                             w      you sub
                                          bmitted for filiing in the casse and they haave been file-stamped on
March 19, 2015. However,
                H         yourr pleading can
                                           nnot be proceessed further uuntil the folloowing action iis taken:

RULE 3.2 - STYLE
               E                                                          RUL
                                                                            LE 68.7 – VITA AL STATIST    TICS REPORT     T
      A
      Additional service
                 s       instru
                              uctions are needed.
                                          n                                 N
                                                                            Need Certificatte of dissolutioon of marriage form.
    Inncorrect case number/filed
                    n            in
                                  n wrong county
                                               y.
    D
    Document is un  nreadable.                                            RUL
                                                                            LE 74.14 SUPR  REME CT – F   FOREIGN JU   UDGMENT
                                                                            A
                                                                            Authentication of foreign juddgment requiredd.
RULE 4.2 (2)                                                                A
                                                                            Affidavit pursuuant to Suprem
                                                                                                        me Court Rule 774.14
  N
  Need Circuit Co
                ourt Form 4
                                                                          RUL
                                                                            LE 54.12 SER   RVICE IN REM    M OR QUASII IN REM
RULE 5.6 – COLL   LECTIONS OF    O DEPOSIT                                ACT
                                                                            TIONS
  N
  No fee, or incorrrect fee, receivved; fee requireed is $______..          A
                                                                            Affidavit for Seervice by Publication requireed pursuant to
  Innsufficient Filiing Fee; Pleasee Remit $_____ __                         SSupreme Courrt Rule 54.12c.
  N
  No signature on  n check/form 1695.                                       Order for Serviice by Publicattion required pursuant to
                                                                            O
  N
  No request to prroceed in form ma pauperis.                                SSupreme Courrt Rule 54.12c.
  N
  No personal cheecks accepted.                                             N
                                                                            Notice for Servvice by Publicaation required ppursuant to
                                                                             SSupreme Courrt Rule 54.12c.
RULE 68.1                                                                   A
                                                                            Affidavit for Seervice by Certiified/Registereed Mail
  N
  Need Circuit Co
                ourt Form 17                                                 ppursuant to Suppreme Court R
                                                                                                         Rule 54.12b.

    O
    OTHER: To    o further pro
                             ocess your request for sum     mmons regarrding defend   dant-Dr. Edw win Richardsson, the
abovve marked bo ox is needed,, stating if serrvice is to bee obtained byy an out of coounty sherifff’s office, pleease state thee
nam
  me and addresss of that offi
                             fice; or if servvice is to be obtained
                                                            o        by PPrivate Proccess Server, a Motion and    d Order is
need
   ded listing the server(s) name and 201   15 PPS#.
*Pleaase refer to thee Court’s web
                                 bsite for serverr(s) correct na
                                                               ame and numb
                                                                          ber.

    P
    Please take th
                 he actions necessary to com mply with the Circuit Courtt Rules and yyour request w
                                                                                                  will be processed.
    T
    The private prrocess server listed is not on
                                              o our approvved list.
    E
    Execution in effect.
                  e      Return
                              n date __________. Request may
                                                           m be resubbmitted withinn one week prrior to return date.
    S
    Supreme Court Rule 90.13 requires inteerrogatories bee served withh summons off garnishmentt.
If thee filing was a new case, please
                               p        be adv
                                             vised that unlless the addittional inform
                                                                                     mation markeed is received d within 30
days of the date ofo this noticee this case willl be dismisseed pursuant to Rule 37.4 for failure tto prosecute w
                                                                                                                without
prejuudice, at the Plaintiff’s co
                                ost. Collectioon efforts will be pursuedd for these coosts.
Pleasse refer to th
                  he Court’s weebsite at www w.16thcircuitt.org for Couurt Rules or Forms.
Copiies electronic noticed, faxeed, emailed an
                                             nd/or mailed MARCH
                                                          M         20, 2015 to:
                                                                            CO
                                                                             OURT ADMIN NISTRATOR’SS OFFICE
                                                                           DEEPARTMENT T OF CIVIL R
                                                                                                  RECORDS
                                                                      CIRCUIT COURT OF JA
                                                                                        ACKSON COU UNTY, MISSO
                                                                                                             OURI

               MARCH 20, 2015                                        By
                   Date                                                         Myrtis Haawkins (816) 8881-6483
                                                                                  Deputy Court Adminnistrator
                                                                           4115 East 12th Stt., Kansas Citty, Missouri 664106
                                                                           3088 W. Kansas,, Independencce, Missouri 664050

                   Case
Case nno. 1516-CV045
                   545      4:15-cv-00293-DW Document
                                                 Page 1 of1-1
                                                           1  Filed 04/20/15 Page 56 of 91                             DM
                                                                                                                        MSLCI5 (8/2014
                                                                                                                                     4)
Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 57 of 91
               IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI

 Judge or Division:                                              Case Number: 1516-CV04545
 KEVIN DUANE HARRELL
 Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address:
 KATIE MOORE                                                     ASHLEY LYNN RICKET
                                                                 DOLLAR, BURNS & BECKER
                                                                 1100 MAIN ST
                                                                 SUITE 2600
                                                           vs.   KANSAS CITY, MO 64105
 Defendant/Respondent:                                           Court Address:
 KANSAS CITY PUBLIC SCHOOLS,                                     415 E 12th
 Nature of Suit:                                                 KANSAS CITY, MO 64106
 CC Pers Injury-Other                                                                                                             (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                           (Except Attachment Action)
    The State of Missouri to: EDWIN RICHARDSON
                              individually and as a Prinicipal of Southeast Early College Campus
  P.O.E.
  VIKING ELEMENTARY SCHOOL
  1 VIKING DRIVE
  PELICAN RAPIDS, MN 56572
     COURT SEAL OF
                                    You are summoned to appear before this court and to file your pleading to the petition, copy of which is attached,
                                 and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above address all within 30
                                 days after service of this summons upon you, exclusive of the day of service. If you fail to file your pleading,
                                 judgment by default will be taken against you for the relief demanded in this action.
                                                        23-MAR-2015                       ____________________________________________________
                                                            Date                                                  Clerk
    JACKSON COUNTY               Further Information:
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                  delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                  leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                   _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                   _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                  Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                  I am: (check one)    the clerk of the court of which affiant is an officer.
                                                       the judge of the court of which affiant is an officer.
          (Seal)                                       authorized to administer oaths in the state in which the affiant served the above summons.
                                                        (use for out-of-state officer)
                                                       authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.




OSCA (7-04) SM60 (JAKSMOS) For Court Use Only: Document ID# 15-SMOS-330
                                                      1 of 2    (1516-CV04545)
                      Case 4:15-cv-00293-DW Document 1-1     Filed  04/20/15 Page 58 ofRules
                                                                                         9154.06, 54.07, 54.14, 54.20;
                                                                                             506.500, 506.510 RSMo
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

         Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 (JAKSMOS) For Court Use Only: Document ID# 15-SMOS-330
                                                     2 of 2    (1516-CV04545)
                     Case 4:15-cv-00293-DW Document 1-1     Filed  04/20/15 Page 59 ofRules
                                                                                        9154.06, 54.07, 54.14, 54.20;
                                                                                            506.500, 506.510 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org ĺ Electronic Filing Information ĺ Required Documents for Service – eFiled cases ĺ
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                       Circuit Court of Jackson County




            Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 60 of 91
͹Ȁ͵Ȁͳ͵             Ǧ
Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 61 of 91
Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 62 of 91
Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 63 of 91
Electronically Filed - Jackson - Kansas City - April 06, 2015 - 03:16 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 64 of 91
Electronically Filed - Jackson - Kansas City - April 06, 2015 - 03:16 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 65 of 91
Electronically Filed - Jackson - Kansas City - April 06, 2015 - 03:16 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 66 of 91
Electronically Filed - Jackson - Kansas City - April 06, 2015 - 03:16 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 67 of 91
Electronically Filed - Jackson - Kansas City - April 06, 2015 - 03:16 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 68 of 91
Electronically Filed - Jackson - Kansas City - April 06, 2015 - 03:16 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 69 of 91
Electronically Filed - Jackson - Kansas City - April 06, 2015 - 03:16 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 70 of 91
Electronically Filed - Jackson - Kansas City - April 06, 2015 - 03:16 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 71 of 91
Electronically Filed - Jackson - Kansas City - April 06, 2015 - 03:16 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 72 of 91
Electronically Filed - Jackson - Kansas City - April 06, 2015 - 03:16 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 73 of 91
Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 74 of 91
Electronically Filed - Jackson - Kansas City - April 07, 2015 - 02:29 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 75 of 91
Electronically Filed - Jackson - Kansas City - April 07, 2015 - 02:29 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 76 of 91
Electronically Filed - Jackson - Kansas City - April 07, 2015 - 02:29 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 77 of 91
             IN THE 16TH JUDICIAL CIRCUIT COURT, JACKSON COUNTY, MISSOURI


 Judge or Division:                                                 Case Number: 1516-CV04545
 KEVIN DUANE HARRELL
 Plaintiff/Petitioner:                                              Plaintiff’s/Petitioner’s Attorney/Address
 KATIE MOORE                                                        ASHLEY LYNN RICKET
                                                                    DOLLAR, BURNS & BECKER
                                                                    1100 MAIN ST
                                                                    SUITE 2600
                                                              vs.   KANSAS CITY, MO 64105
 Defendant/Respondent:                                              Court Address:
 KANSAS CITY PUBLIC SCHOOLS,                                        415 E 12th
 Nature of Suit:                                                    KANSAS CITY, MO 64106
 CC Pers Injury-Other                                                                                                                 (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: DR. R. STEPHEN GREEN
                                      Alias:
  SERVE: AMY STOVALL,
  LEGAL SERVICES DEPT.
  1211 MCGEE
  KANSAS CITY, MO 64106
        COURT SEAL OF                        You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                       which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                       above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                       file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                                    09-APR-2015                                _________________________________________
                                                        Date                                                    Clerk
       JACKSON COUNTY                  Further Information:

                                                               Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
           _____________________________________________a person of the Defendant’s/Respondent’s family over the age of 15 years.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                       _____________________________________________
                     Printed Name of Sheriff or Server                                                    Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
            (Seal)
                                    My commission expires: __________________________              _____________________________________________
                                                                              Date                                     Notary Public
     Sheriff’s Fees
     Summons                      $
     Non Est                      $
     Sheriff’s Deputy Salary
     Supplemental Surcharge       $    10.00
     Mileage                      $                    (______ miles @ $.______ per mile)
     Total                        $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-08) SM30 (JAKSMCC) For Court Use Only: Document Id # 15-SMCC-3575
                                                           1 of 1               Civil Procedure Form No. 1, Rules 54.01 – 54.05,
                       Case 4:15-cv-00293-DW Document 1-1 Filed   04/20/15    Page       78 of 91
                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                   SUMMONS/GARNISHMENT SERVICE PACKETS
                         ATTORNEY INFORMATION



Under the Missouri e-filing system now utilized by the 16th Judicial Circuit Court, once a case has been
accepted for filing, a clerk prepares the necessary documents for service. The summons/garnishment is
sent to the attorney by an e-mail containing a link so that the filer may print and deliver the
summons/garnishment, pleadings and any other necessary documents to the person designated to serve
the documents.

Pursuant to State statutes, Supreme Court Rules and Local Court Rules, attorneys are required to print,
attach and serve specific documents with certain types of Petitions and other filings.

Please refer to the Court’s website for instructions on how to assemble the service packets at:

16thcircuit.org ĺ Electronic Filing Information ĺ Required Documents for Service – eFiled cases ĺ
Summons/Garnishment Service Packet Information.

Please review this information periodically, as revisions are frequently made. Thank you.



                                                       Circuit Court of Jackson County




            Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 79 of 91
͹Ȁ͵Ȁͳ͵             Ǧ
Electronically Filed - Jackson - Kansas City - April 07, 2015 - 02:29 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 80 of 91
                                                                  Electronically Filed - Jackson - Kansas City - April 07, 2015 - 02:29 PM
09-Apr-2015
                                %&165:$0635"%.*/*453"503
                                 &165: $06
                                         635 "%.*/*453"50




Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 81 of 91
Electronically Filed - Jackson - Kansas City - April 10, 2015 - 01:46 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 82 of 91
Electronically Filed - Jackson - Kansas City - April 10, 2015 - 01:46 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 83 of 91
Electronically Filed - Jackson - Kansas City - April 13, 2015 - 02:12 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 84 of 91
Electronically Filed - Jackson - Kansas City - April 13, 2015 - 02:12 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 85 of 91
Electronically Filed - Jackson - Kansas City - April 13, 2015 - 02:12 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 86 of 91
                        IN THE CIRCUIT COURT OF JACKSON COUNTY, MISSOURI
                                             AT KANSAS CITY           AT INDEPENDENCE



RE:  KATIE MOORE V KANSAS CITY PUBLIC SCHOOLS, ET AL
CASE NO:  1516-CV04545

TO:     ASHLEY LYNN RICKET
        DOLLAR, BURNS & BECKER
        1100 MAIN ST, SUITE 2600
        KANSAS CITY, MO 64105

We have received pleadings, which you submitted for filing in the case and they have been file-stamped on April 10,
2015. However, your pleading cannot be processed further until the following action is taken:

RULE 3.2 - STYLE                                                      RULE 68.7 – VITAL STATISTICS REPORT
  Additional service instructions are needed.                           Need Certificate of dissolution of marriage form.
  Incorrect case number/filed in wrong county.
  Document is unreadable.                                             RULE 74.14 SUPREME CT – FOREIGN JUDGMENT
                                                                        Authentication of foreign judgment required.
RULE 4.2 (2)                                                            Affidavit pursuant to Supreme Court Rule 74.14
  Need Circuit Court Form 4
                                                                      RULE 54.12 SERVICE IN REM OR QUASI IN REM
RULE 5.6 – COLLECTIONS OF DEPOSIT                                     ACTIONS
  No fee, or incorrect fee, received; fee required is $______.          Affidavit for Service by Publication required pursuant to
  Insufficient Filing Fee; Please Remit $______                          Supreme Court Rule 54.12c.
  No signature on check/form 1695.                                      Order for Service by Publication required pursuant to
  No request to proceed in forma pauperis.                               Supreme Court Rule 54.12c.
  No personal checks accepted.                                          Notice for Service by Publication required pursuant to
                                                                         Supreme Court Rule 54.12c.
RULE 68.1                                                               Affidavit for Service by Certified/Registered Mail
  Need Circuit Court Form 17                                             pursuant to Supreme Court Rule 54.12b.

   OTHER: We received your Motion for Approval and Appointment of Private Process Server, file stamped on
April 10, 2015. However, there were no service instructions included. Before your case can be processed further
you will need to eFile service instructions indicating which defendant will be served.
   Please take the actions necessary to comply with the Circuit Court Rules and your request will be processed.
   The private process server listed is not on our approved list.
   Execution in effect. Return date _________. Request may be resubmitted within one week prior to return date.
   Supreme Court Rule 90.13 requires interrogatories be served with summons of garnishment.

If the filing was a new case, please be advised that unless the additional information marked is received within 30
days of the date of this notice this case will be dismissed pursuant to Rule 37.4 for failure to prosecute without
prejudice, at the Plaintiff’s cost. Collection efforts will be pursued for these costs.
Please refer to the Court’s website at www.16thcircuit.org for Court Rules or Forms.
Copies electronic noticed, faxed, emailed and/or mailed APRIL 13, 2015 to:
                                                                       COURT ADMINISTRATOR’S OFFICE
                                                                       DEPARTMENT OF CIVIL RECORDS
                                                                 CIRCUIT COURT OF JACKSON COUNTY, MISSOURI

               APRIL 13, 2015                                    By
                   Date                                                       Peggy Holley, 816-881-6491
                                                                              Deputy Court Administrator
                                                                         415 East 12th St., Kansas City, Missouri 64106
                                                                        308 W. Kansas, Independence, Missouri 64050



                  Case
Case no. 1516-CV04545     4:15-cv-00293-DW Document
                                               Page 1 of1-1
                                                         1  Filed 04/20/15 Page 87 of 91                         DMSLCI5 (8/2014)
Electronically Filed - Jackson - Kansas City - April 10, 2015 - 01:46 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 88 of 91
                                                                   Electronically Filed - Jackson - Kansas City - April 10, 2015 - 01:46 PM
13-Apr-2015
                                %&165:$0635"%.*/*453"503




 Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 89 of 91
Electronically Filed - Jackson - Kansas City - April 17, 2015 - 03:14 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 90 of 91
Electronically Filed - Jackson - Kansas City - April 17, 2015 - 03:14 PM




                                                                           Case 4:15-cv-00293-DW Document 1-1 Filed 04/20/15 Page 91 of 91
